                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:07 CR 69-10


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )             ORDER
                                                   )
MICHAEL RAY ELLIOTT,                               )
                                                   )
                  Defendant.                       )
________________________________________           )


       THIS CAUSE coming on to be heard and being heard before the undersigned,

pursuant to a Motion to Reconsider Bond (#86) and an Amended Motion to Reconsider Bond

(#101) filed by defendant’s counsel, Victoria Jayne. At the call of this matter on for hearing,

Ms. Jayne advised the court that she wished to continue the hearing of her motions and the

Government had no objection to such continuance.

                                          ORDER

       IT IS, THEREFORE, ORDERED that the hearing of the Motion to Reconsider Bond

(#86) and the Amended Motion to Reconsider Bond (#101) are hereby continued and shall

be rescheduled upon additional motion of the defendant.




                                              Signed: August 24, 2007




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